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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

BECKY ARPS, et. al.,                             )
                                                 )
               Plaintiffs,                       )
                                                 )
       v.                                        )        Cause No. 4:21-cv-01406NAB
                                                 )
ROBERT L. CHAMBERS, et.al.,                      )
                                                 )
               Defendants.                       )


                INTERVENOR ST. LOUIS COUNTY’S RESPONSE TO
             PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND COSTS
       COMES NOW Intervenor St. Louis County (the “County”), by and through its undersigned

counsel, and in response to Plaintiffs’ motions for attorneys’ fees and costs pursuant to Rule 54(d)

of the Federal Rules of Civil Procedure, states as follows:

                                        INTRODUCTION
       Pursuant to 42 U.S.C. § 1988 and 28 U.S.C. § 1920, the Plaintiffs to this litigation seek to

recover approximately $317,285.95 in attorneys’ fees and costs, including the fees charged by an

expert witness. Intervenor St. Louis County (the “County”) recognizes prevailing parties in

litigation of this type are entitled to reasonable attorneys’ fees and costs, and do not oppose an

award of reasonable attorneys’ fees and necessary expenses. The amounts sought by the Plaintiffs

in this matter, however, are excessive, unreasonable, and far from necessary given the limited

scope of this litigation. For these reasons, discussed more fully herein, the County respectfully

requests this Court limit the award of fees and costs only to the extent such fees set forth herein.
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                                     SCOPE OF LITIGATION

         This lawsuit involves the Plaintiffs’ request for court intervention to resolve

reapportionment of the St. Louis County Council district lines following changes in the population

of St. Louis County following the 2020 census. This litigation, initiated on November 30, 2021,

and tried to this Court on February 1, 2022, involved a trial lasting no more than one day, and the

presentation of two witnesses to the Court, one of which was an expert witness who has appeared

before the court in prior litigation of a similar nature.


                                       ATTORNEYS’ FEES

         The Plaintiffs each seek separate legal fees and expenses, collectively $330,801.70 in total,

and far exceeding the comparable litigation of years’ past.1 Broken down by Plaintiff, the fees and

costs sought in this litigation are as follows:

         On Behalf of the Arps Plaintiffs………... $93,180.00 in fees, $8,263.25 in costs

         On Behalf of the Bowman Plaintiffs…. $187,974.00 in fees, $11,864.45 in costs

         On Behalf of Plaintiff Rita Heard Days……………………... $29,520.00 in fees

See Doc #88, 91 (Arps Plaintiffs); Doc #84, 85 (Bowman Plaintiffs); Doc #89 (Plaintiff Rita Heard

Days). In fact, the total fees requested here far exceeds even the reasonable fees ordered by the




1
    In the 2012 litigation related to reapportionment, the Court awarded fees and costs totaling

$111,071.12. Stenger v. Kellett, 4:11cv2230-TIA, Doc #82. In 2002, the Court awarded fees and

costs totaling $173,794.05 related to reapportionment. Corbett v. Sullivan, 4:01cv02006-CDP, Doc

#75.
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court in the last two cases combined (a total of $284,865.17 was awarded in 2002 and 2012

combined).

         Specifically, the fees included in each Plaintiffs’ fee request can be further broken down

into hourly rates and, with the exception of counsel for Plaintiff Rita Heard Days, by work

performed and costs incurred.2 Counsel for Plaintiff Rita Heard Days indicates she “estimates 72

hours work on this matter as of the date of this motion … At her customary rate of $410.00 per

hour.” Doc #89, p. 6. Counsel for the Arps Plaintiffs indicates 171 hours work on this matter at

the variable rate of $485.00/$495.00, and 29 hours of work at the rate of $310.00, depending on

the attorney performing the work and the date the work was performed. Doc #91-1, p.7. Counsel

for the Bowman Plaintiffs indicates 171.3 hours at $630.00, 191.7 hours at $470.00, and 41.7 hours

at $260.00, plus a 10% discount for performing work for public or governmental entities. Doc #85,

p. 8-9. Notably, the expert witness in this case, Dr. David Kimball – arguably more necessary to

this litigation than anyone else – demands payment of just 48 hours of work at a rate of $100 per

hour. Doc #85, p. 9.

                                          ARGUMENT

         As noted supra, the County does not object to the award of reasonable attorney’s fees. Nor

does the County disagree with Plaintiffs’ contention that the lodestar amount should be calculated

by multiplying the reasonable hourly rate by the number of hours reasonably expended on this




2
    Counsel for the County checked the PACER filings related to motions for attorneys’ fees on

multiple occasions, including the morning of this filing, and found no supplemental motions,

exhibits, or supporting affidavits filed by Counsel for Rita Heard Days.
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case. But neither the number of hours, nor the hourly rates sought by the Plaintiffs are reasonable

in this instance.

        1. Excessive Fees Should Be Reduced By The Court Based on Reasonableness.

        In the 2002 Court Order concerning an award of attorneys’ fees related to the previous

reapportionment of County Council districts, the Court drastically reduced an intervenor’s request

for attorneys’ fees. See Corbett v. Sullivan, 353 F.3d 628, 631 (8th Cir.2003); Corbett v. Sullivan,

No. 4:2001-cv-02006 (E.D.Mo. November 20, 2002). Plaintiffs here are similarly situated to the

intervenors in Corbett v. Sullivan, who the Court described as having “over-layered the case.” Id.

In that case, the trial court slashed by more than half the fee amount requested, and the Eighth

circuit affirmed the reduction. The Eighth Circuit further analyzed the District Court’s order

regarding the awarding of attorneys’ fees, stating, “the Court did specifically note that some of the

time spent by the Republican lawyers was unnecessary, and that the Corbett plaintiffs, unlike the

Democrats, had used lawyers with higher hourly rates to do most of their work. The Court felt that

this was unnecessary, and district courts are well qualified to make that sort of judgment.” Corbett,

353 F. 3d at 631. Here as in Corbett, Plaintiffs’ counsel chose to use lawyers in their firms with

higher hourly rates than was necessary for a case that is repeatedly litigated every ten years.

Corbett v. Sullivan, No. 4:2001-cv-02006, pg. 3, 5; Corbett, 353 F. 3d at 619.

        In reaching its determination on Plaintiffs’ motions for attorneys’ fees, this Court can look

to the United States Supreme Court in Hensley v. Eckerhart, 461 U.S. 424, 433 (1983), which held:

        the most useful starting point for determining the amount of a reasonable fee is the
        number of hours reasonably expended on the litigation multiplied by a reasonable
        hourly rate. This calculation provides an objective basis on which to make an initial
        estimate of the value of a lawyer’s services. The party seeking an award of fees
        should submit evidence supporting the hours worked and rates claimed. Where the
        documentation of hours is inadequate, the district court may reduce the award
        accordingly.
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Additionally, the Hensley Court noted that “a reasonable fee” includes a “reasonable hourly rate.”

Id. The amount of hours and rates submitted by Plaintiffs’ counsel in this case are nowhere near

reasonable, especially considering this case is near identical to previous lawsuits, much of the

information is the same as in previous litigation, as the Court noted in Corbett. Corbett v. Sullivan,

No. 4:2001-cv-02006, pg. 3, 5, and the case ultimately rests on the opinion of a single expert

witness and this Court’s capable judgment.

       Given the straightforward nature of this case, Plaintiffs should have been able to file and

try this case without the need for hundreds of hours of research and strategizing, and without billing

at rates up to $630/hr. for work which neither required nor revealed any special expertise in

redistricting law. Any argument that this case presented novel legal issues is without merit. In

fact, the Plaintiffs utilized the same expert witness used in the 2012 reapportionment case, Stenger

v. Kellett, 4:11cv2230-TIA, effectively eliminating a great deal of work related to researching and

obtaining the key witness in this entire case. Yet, somehow the Plaintiffs were able to expend

additional legal fees of over $200,000 more than the Court deemed “reasonable” and awarded in

the 2012 case.

       The fees expended in this case clearly demonstrate the very issues of overstaffing,

redundant and otherwise unnecessary legal fees warned of in Hensley. 461 U.S. at 434 (“the district

court also should exclude from this initial fee calculation hours that were not ‘reasonably

expended.’ Cases may be overstaffed, and the skill and experience of lawyers vary widely. Counsel

for the prevailing party should make a good faith effort to exclude from a fee request hours that

are excessive, redundant, or otherwise unnecessary, just as a lawyer in private practice ethically is

obligated to exclude such hours from his fee submission.”)(internal citation omitted). Despite each

firm understanding they were performing work for a government entity, utilizing taxpayer dollars,
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and that prior courts have specifically admonished excessive rates and rewarded the use of lower-

cost associates, the collective attorney work on this case totals 606 hours performed by 4 attorneys

at a rate exceeding $400 per hour, and a mere 70.7 collective hours performed by just 2 attorneys

at a rate of less than $400 per hour.

       Therefore, just as the Court held in Corbett, there exists in Plaintiffs’ requests some work

the Court should not consider reasonable, such as assigning the case to people with a higher rate

of billable hour, utilizing multiple attorneys to conduct the same work, excessive meetings,

conferencing, and strategizing. See Corbett v. Sullivan, No. 4:2001-cv-02006, pg. 3, 5. Similarly,

the Court should not consider providing for the unreasonable costs associated with extraneous

depositions, including the preparation and other related costs, the costs associated with the fishing

expedition, and attempts to depose other individuals with no relevance to the creation of the

reapportionment map itself, the only matter that is before this Court. See Stenger v. Kellett,

4:11cv2230-TIA, p. 5 (“the undersigned concludes that the bill, as detailed above, is excessive and

also notes that it must ultimately be paid by the taxpayers of the county.”); see also Willson v. City

of Bel-Nor, Missouri, No. 4:18-CV-003 RLW, 2021 WL 2255003, at *9 (E.D. Mo. June 3, 2021).

       Reasonable costs are those out-of-pocket expenses that “would normally be charged to a

fee paying client.” Id. citing Jenkins v. Kansas City Mo. Sch. Dist., 525 F.3d 682, 682 n.1 (8th Cir.

2008). Clearly it is not reasonable to inflate fees charged to a private paying client for unnecessary

depositions and fishing expeditions which ultimately would have no bearing on the final

determination in this case which is based solely on population statistics. For example, even if the

Plaintiffs had uncovered some evidence of a conspiracy – which they did not as evidenced by

dismissal of the conspiracy claim – a conspiracy would not have impacted the expert witness’
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opinion on reapportionment which is based solely on population demographics and statistics. As

such, these fees are clearly outside the realm of “reasonable” under the law.

       Furthermore, any motion for attorneys’ fees submitted without supporting evidence should

be reduced, if not denied. Hensley, 461 U.S. at 433 (“The party seeking an award of fees should

submit evidence supporting the hours worked and rates claimed. Where the documentation of

hours is inadequate, the district court may reduce the award accordingly.”).

       In sum, the County does not object to the payment of reasonable attorneys’ fees and

appropriate costs, based upon rates suitable for the community in which the case was heard and

the complexity of the litigation. However, the County is obligated to protect public funds and argue

for the just administration of costs and fees in this case. To the extent that it appears the County

will be facing claims of this nature every 10 years, rewarding the excessive hours and billing rates

presented in this litigation will only serve to encourage future counsel to spare no expense when

handling the next reapportionment case. By reducing the fees to a reasonable sum not to exceed

$300 for any attorney, removing any fees or costs related to duplicative attorney work and

transcript fees, and excluding any fees deemed wholly unnecessary, this Court can alert future

litigants and their counsel to the understanding that the reapportionment cases are as simple as

hiring an expert witness and allowing them to present an opinion to the Court.

                                         CONCLUSION
       For the reasons set forth herein, the County respectfully requests this Court reduce the fees

and costs sought by the Arps Plaintiffs and Bowman Plaintiffs to an amount that is reasonable and

appropriate, deny Plaintiff Rita Heard Days’ request for fees as lacking proper accounting, and for

such other relief as the Court may deem just and proper.
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                                                   Respectfully Submitted,


                                                   BETH ORWICK
                                                   COUNTY COUNSELOR


                                                    /s/Noah Goldkamp
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                               CERTIFICATE OF SERVICE


       The undersigned certifies that a copy of the foregoing was served electronically via this
Court’s Electronic Filing System to all counsel of record on April 12, 2022:



                                                   /s/Noah Goldkamp
                                                   Noah Goldkamp
